                                               Case 19-14173
 Fill in this information to identify your case:
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  Debtor 1                   Janet                 Stacy              Kaplan
                             First Name            Middle Name       Last Name

  Debtor 2                   Michael               Richard            Kaplan
  (Spouse, if filing)        First Name            Middle Name       Last Name

  United States Bankruptcy Court for the:                           District of Maryland

  Case number                           19-14173                                                                                       ❑    Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                                      12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier, unless
the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known).



 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information below.
     Identify the creditor and the property that is collateral             What do you intend to do with the property that secures a Did you claim the property as
                                                                           debt?                                                     exempt on Schedule C?

    Creditor’s                                                             ❑ Surrender the property.                                      ❑ No
    name:                 BB&T
                                                                           ❑ Retain the property and redeem it.                           ✔ Yes
                                                                                                                                          ❑
    Description of        2010 Ford Escape                                 ✔ Retain the property and enter into a
                                                                           ❑
    property                                                                       Reaffirmation Agreement.
    securing debt:
                                                                           ❑ Retain the property and [explain]:


    Creditor’s                                                             ❑ Surrender the property.                                      ✔ No
                                                                                                                                          ❑
    name:                 Flagstar Bank
                                                                           ❑ Retain the property and redeem it.                           ❑ Yes
    Description of
    property
                          3643 Islington Street Frederick, MD
                          21704
                                                                           ❑ Retain the property and enter into a
                                                                                   Reaffirmation Agreement.
                                                                           ✔ Retain the property and [explain]:
    securing debt:
                                                                           ❑
                                                                                   short sale




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                                         Stacy 19-14173 Kaplan
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 Debtor 2            Michael              Richard                Kaplan                                        Case number (if known) 19-14173
                     First Name           Middle Name             Last Name




         Additional Page for Part 1

Creditor’s                                                         ❑ Surrender the property.                                  ✔ No
                                                                                                                              ❑
name:               Specialized Loan Servicing/SLS
                                                                   ❑ Retain the property and redeem it.                       ❑ Yes
Description of
property
                    3643 Islington Street Frederick, MD
                    21704
                                                                   ❑ Retain the property and enter into a
                                                                       Reaffirmation Agreement.
                                                                   ✔ Retain the property and [explain]:
securing debt:
                                                                   ❑
                                                                       Short sale




Creditor’s                                                         ❑ Surrender the property.                                  ❑ No
name:               Toyota Financial Services
                                                                   ❑ Retain the property and redeem it.                       ✔ Yes
                                                                                                                              ❑
Description of      2016 Toyota Prius                              ✔ Retain the property and enter into a
                                                                   ❑
property                                                               Reaffirmation Agreement.
securing debt:
                                                                   ❑ Retain the property and [explain]:



Creditor’s                                                         ❑ Surrender the property.                                  ✔ No
                                                                                                                              ❑
name:
Inc.
                    Villages of Urbana Community Association,
                                                                   ❑ Retain the property and redeem it.                       ❑ Yes
Description of      3643 Islington Street Frederick, MD
                                                                   ❑ Retain the property and enter into a
                                                                       Reaffirmation Agreement.
                                                                   ✔ Retain the property and [explain]:
property            21704
securing debt:                                                     ❑
                                                                       Short Sale




Creditor’s                                                         ❑ Surrender the property.                                  ❑ No
name:               Scottsdale Pinnacle Owners Association         ✔ Retain the property and redeem it.
                                                                   ❑                                                          ✔ Yes
                                                                                                                              ❑
Description of
property
                    Sheraton Desert Oasis 17700 Hayden
                    Road Scottsdale, AZ 85255
                                                                   ❑ Retain the property and enter into a
                                                                       Reaffirmation Agreement.
securing debt:
                                                                   ❑ Retain the property and [explain]:




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 Debtor 1             Janet               Case
                                          Stacy 19-14173 Kaplan
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 Debtor 2             Michael              Richard                Kaplan                                          Case number (if known) 19-14173
                      First Name           Middle Name            Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the information
 below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an unexpired personal
 property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                                Will the lease be assumed?
    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal property that
   is subject to an unexpired lease.



✘                     /s/ Janet Stacy Kaplan                      ✘                  /s/ Michael Richard Kaplan
    Signature of Debtor 1                                              Signature of Debtor 2


    Date 03/28/2019                                                    Date 03/28/2019
            MM/ DD/ YYYY                                                      MM/ DD/ YYYY




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